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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

PARK CONSULTING GROUP, a Michigan
limited liability company, and PW MI CANRE
MARENGO, LLC, a Michigan limited liability
company,
                                                Case No. 1:22-cv-00321
                          Plaintiffs,
                                                HON. HALA Y. JARBOU
v
                                                STIPULATION TO STRIKE ECF
MARENGO TOWNSHIP, a Michigan civil              NO. 11, REMOVE IT FROM
township,                                       PUBLIC VIEW, AND PERMIT
                                                DEFENDANT TO FILE AN
                          Defendant.            AMENDED RESPONSE TO
                                                PLAINTIFFS’ RULE 57 MOTION
                                                FOR EXPEDITED HEARING
__________________________________________/
 Ethan R. Holtz (P71884)                    Shaina R. Reed (P74740)
 Salvatore A. Amodeo (P80290)               Christopher S. Patterson (P74350)
 Jaffe, Raitt, Heuer & Weiss, P.C.          Matthew A. Kuschel (P76679)
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__________________________________________/
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                                                STIPULATION

         On April 7, 2022, Plaintiffs filed their Motion for Expedited Hearing Pursuant to Fed. R.

Civ. P. 57 (ECF No. 10). On April 21, 2022, Defendant filed its Response to Plaintiffs’ Motion for

Expedited Hearing Pursuant to Fed. R. Civ. P. 57 (ECF No. 11). Inadvertently included among the

exhibits attached to Defendant’s Response was confidential information of Plaintiffs that should

have been redacted and/or omitted from public view.

         To the correct the above oversight, the Parties jointly request that that the Court (1) strike

Defendant’s Response to Plaintiffs’ Motion for Expedited Hearing Pursuant to Fed. R. Civ. P. 57

(ECF No. 11); (2) remove Defendant’s Response from the docket and public record as if it were

not filed; and (3) permit Defendant to re-file its Response with properly redacted exhibits.1

         SO STIPULATED.

Dated: April 22, 2022                                 Foster, Swift, Collins & Smith, P.C.
                                                      Attorneys for Defendant

                                                      _/s/Daniel S. Zick (P77950)_____
                                                      Daniel S. Zick (P77970)

Dated: April 22, 2022                                 Fahey Schultz Burzych Rhodes PLC
                                                      Attorneys for Defendant

                                                      /s/Shaina R. Reed (P74740)_____
                                                      Shaina R. Reed (P74740)

Dated: April 22, 2022                                 Jaffe, Raitt, Heuer & Weiss, P.C.
                                                      Attorneys for Plaintiffs

                                                      /s/Ethan R. Holtz (P71884)________
                                                      Ethan R. Holtz (P71884)




1
 Nothing herein shall be deemed by the Court as an acceptance of or waiver by Plaintiffs of any non-conformance
of Defendant’s Response with the Local Rules of Civil Procedure and Plaintiffs hereby full reserve their rights as to
same.

                                                          2
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                                             ORDER

       PURSUANT TO STIPULATION, IT IS SO ORDERED that Defendant’s Response to

Plaintiffs’ Motion for Expedited Hearing Pursuant to Fed. R. Civ. P. 57 is stricken and removed

from the docket and public record as if it were not filed, and Defendant is permitted to re-file its

Response to Plaintiff’s Motion for Expedited Hearing to replace its original Response.



         April 22, 2022
Dated: _________________                              /s/ Hala Y. Jarbou
                                                     ____________________________________
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE




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